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                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

UNITED STATES OF AMERICA                                    00247-IM
                                                   3:20-cr-___________________

               v.                                  INFORMATION

JERUSALEM A. CALLAHAN,                             40 U.S.C. § 1315
                                                   41 C.F.R. § 102.74.380(b)
               Defendant.


                       THE UNITED STATES ATTORNEY CHARGES:

                                           COUNT 1
                         (Willfully Damaging or Destroying Property)
                                   (41 C.F.R. § 102.74.380(b))

       On or about July 21, 2020, in the District of Oregon, defendant JERUSALEM A.

CALLAHAN did willfully enter in and on federal property, to wit: the grounds of the Mark O.

Hatfield Federal Courthouse, and did willfully damage and destroy property while on the

property;

       In violation of Title 40, United States Code, Section 1315 and 41 Code of Federal

Regulations, Section 102-74.380(b), a class C misdemeanor.

Dated: July 22, 2020                               Respectfully submitted,

                                                   BILLY J. WILLIAMS
                                                   United States Attorney

                                                   /s/ Paul T. Maloney
                                                   PAUL T. MALONEY, OSB #013366
                                                   Assistant United States Attorney


Misdemeanor Information                                                                    Page 1
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